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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KEVIN F. JOHNSON,                      :
                                       :     CIVIL ACTION
     Petitioner,                       :     NO. 13-03197
                                       :
          v.                           :
                                       :
JOHN W. KERESTES, et al.,              :
                                       :
     Respondents.                      :


                                 ORDER

     AND NOW, this 11th day of January, 2023, upon

consideration of a letter request from the Pennsylvania Office

of the Attorney General, it is hereby ORDERED that the request

is GRANTED. The Pennsylvania Attorney General shall submit an

amicus brief by January 23, 2023.


          AND IT IS SO ORDERED.

                                         _______________________
                                         EDUARDO C. ROBRENO, J.




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